                          Case 1:22-sc-02835-MAU Document 3 Filed 02/13/23 Page 1 of 2


AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means                  12] Original                o    Duplicate Original


                                              UNITED STATES DISTRICT COURT
                                                                             for the
                                                                     District of Columbia

                   In the Matter of the Search of                                )
              (Briefly describe the property to be searched                      )
               or identify the person by name and address)                       )     Case No. 22-SC-2835
   INFORMATION ASSOCIATED WITH ONE ACCOUNT
   STORED AT PREMISES CONTROLLED BY                                              )
   FACEBOOK, INC. PURSUANT TO 18 U.S.C. 2703                                     )
   FOR INVESTIGATION OF VIOLATION OF 18 U.S.C.                                   )
   §§ 1752(a)(I) & (2) and 40 U.S.C. §§ 5104(e)(2)(D) & (G)
                  WARRANT BY TELEPHONE                              OR OTHER RELIABLE ELECTRONIC                                    MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the             Northern District of California
(identify the person or describe the property to be searched and give its location):


 See Attachment          A (incorporated         by reference).




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

 See Attachment          B (incorporated by reference).




          YOU ARE COMMANDED to execute this warrant on or before          November 21,2022        (not to exceed 14 days)
      D in the daytime 6:00 a.m. to 10:00 p.m.
                                        [{] at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                     G. MICHAEL HARVEY
                                                                                                        (United States Magistrate Judge)

       o Pursuant to 18 U.S.C. § 3103a(b), I frod that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     o for __ days (not to exceed 30) 0 until, the facts justifying, the later specific date of
                                                                                                                        Digitally signed by G.
                                                                                              G. Michael                Michael Harvey
                                                                                                                        Date: 2022.11.07 12:31 :52
Date and time issued:                             11/7/2022                                   Harvey                    ·05'00'
                                                                                                                Judge's signature

City and state:                         Washington,D.C.                                                 G. MICHAEL HARVEY
                                                                                                       United States Magistrate Judge
                         Case 1:22-sc-02835-MAU Document 3 Filed 02/13/23 Page 2 of 2

AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (page 2)


                                                                                             Return
Case No.:                                        Date and time warrant executed:                              Copy of warrant and inventory left with:
22-SC-2835                                                    IIJ7/J_o~cl.                                       M \_     oJ   j_(1       ~                /....~w   ~..,~r~\-
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                                                                                                                                                                ,
Inventory made in the presence of :

Inventory of the property taken and name( s) of any person( s) seized:




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                                                                                         Certification


        I declare under penalty of peIjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:



                                                                                                                          Printed name and title
